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                                                IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE DISTRICT OF MARYLAND

                                                                         *
                    Plaintiff,
                                                                         *
                    v.                                                                     Case No.
                                                                         *

                    Defendant.                                           *

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